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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                              MIAMI DIVISION

  RAY F. BUENO,
  an individual,
                                                  Case No.: 22-22831-Civ-Scola
        Plaintiff,
  v.

  UNIVERSITY OF MIAMI,
  A Florida Non-Profit Corporation,
  EQUIFAX INFORMATION
  SERVICES, LLC,
  a foreign limited liability company, and
  TRANS UNION, LLC,
  a foreign limited liability company,

       Defendants.
  _________________________________________/

         JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE AS
                   TO DEFENDANT TRANS UNION, LLC

        Plaintiff, RAY F. BUENO (hereinafter, “Plaintiff”), and Defendant, Trans

  Union, LLC hereby file this Joint Stipulation for Dismissal with Prejudice as to Defendant

  Trans Union, LLC as follows:

        There are no longer any issues in this matter between Plaintiff and Trans Union,

  LLC to be determined by this Court. Plaintiff and Trans Union, LLC hereby stipulate

  that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), all causes of action that were or could

  have been asserted against Trans Union, LLC are dismissed with prejudice, with court

  costs and attorneys’ fees to be paid by the party incurring the same.

        Dated: June 9, 2023

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  Respectfully submitted,

   Swift, Isringhaus & Dubbeld, P.A.            Quilling, Selander, Lownds, Winslett
                                                & Moser, P.C.
   /s/ Jon P. Dubbeld
   Jon P. Dubbeld, Esq.                         /s/ Alexandria Epps
   FBN 105869                                   Alexandria Epps, Esq.
   8380 Bay Pine Blvd.                          FBN 1002739
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   jmurphy@swift-law.com                        aepps@qslwm.com
   Counsel for Plaintiff                        Counsel for Defendant,
                                                Trans Union, LLC

                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 9, 2023, I filed a true and correct copy of

  the above and foregoing Joint Stipulation for Dismissal with Prejudice as to Defendant Trans

  Union, LLC via CM/ECF and will serve a copy of the same to counsel of record for all

  parties.

                                            /s/ Jon P. Dubbeld
                                            Attorney




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